                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION – DETROIT

In re:
                                                                    Case No. 11-43192
         Peter C. Cubba,                                            Chapter 7
                                                                    Hon. Walter Shapero
                Debtor.

____________________________________/

Flagstar Bank, FSB,

                Plaintiff,

v.                                                                  Adv. Pro. No. 11-05518

Greenstone Investments, LLC, a Michigan
limited liability company, Fairfield
Investments, LLC, a Michigan limited
liability company, Allen Point Investments,
LLC, a Michigan limited liability company,
Peter J. Cubba, an individual, Peter J.
Cubba Revocable Living Trust
Agreement Dated March 5, 1999, as
Amended, a trust, and Peter C. Cubba, an
individual,

                Defendants.

____________________________________/

                OPINION GRANTING PLAINTIFF’S MOTION TO
         REMAND PORTION OF REMOVED PROCEEDING TO STATE COURT

         The matter before the Court is Flagstar Bank, FSB’s Motion for Remand of Oakland
County Circuit Court Case No. 10-107474-CK (Docket No. 12). In that motion, Plaintiff argues
that (1) this Court does not have jurisdiction over the state court case, and (2) grounds exist for
equitable remand of the case. The Court held a hearing on the matter and took it under
advisement. Two sets of claims were identified with regard to the remand issue: (a) the claim by
Plaintiff against the Trust Defendant for breach of its guaranty obligations (“Guaranty Claim”),
and (b) the appointment of a receiver by the Oakland County Circuit Court order dated February


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10, 2010 and the activity of the receiver in accordance with that order (“Receivership
Administration”). On July 27, 2011, the parties entered into a stipulation by which the parties
agreed that the Receivership Administration portion of the matter would be remanded to the
Oakland County Circuit Court (Docket No. 21). The Court entered an order to that effect on that
same date (Docket No. 22). The remaining issue is whether the Guaranty Claim should be
remanded. This opinion is in regard to only that issue.


                                     I.     BACKGROUND
        Peter C. Cubba (“Debtor”) filed a Chapter 7 bankruptcy petition on February 9, 2011.
Among his assets listed on Schedule B are interests in Greenstone Investments, LLC
(“Greenstone”), Allen Pointe Investments, LLC (“Allen Pointe”), and Fairfield Investments,
LLC (“Fairfield”).     Those three entities comprise real estate developments of one kind or
another. Another item listed on Schedule B is Debtor’s interest in the Peter C. Cubba Revocable
Living Trust. Greenstone, Allen Pointe, and Fairfield had each obtained loans from and gave
mortgages to Plaintiff. Incident to those loan transactions, the Peter J. Cubba Revocable Living
Trust (“Trust”), of which Debtor’s now deceased father was grantor, issued a limited (as to
amount) guaranty of the Flagstar indebtedness. The beneficiaries of the Trust are Peter J.
Cubba’s wife, Debtor, and Debtor’s siblings. The assets of the Trust apparently primarily consist
of a substantial number of holdings in real estate developments, including, but not limited to,
Greenstone, Allen Pointe, and Fairfield. Debtor also signed guaranties, in an individual capacity,
relating to that Flagstar debt.
        In February 2010, Flagstar commenced an action in state court against the Defendant’s
seeking (a) judgments on the notes and guaranties; and (b) a receiver over the property of
Greenstone, Allen Point, and Fairfield, as provided for in the mortgages. A receiver was
appointed and he proceeded to take steps to liquidate the properties, the values of which are
substantially less than the Flagstar indebtedness. As of the filing of this bankruptcy case, (1) one
of the properties had been sold, another was under contract to be sold, and negotiations were
pending with respect to the sale of the third, and (2) Flagstar’s motion for summary disposition
against the Trust had been filed in the state court action and was scheduled to be heard. The
Trust thereafter removed the entire state court proceeding to this Court and Flagstar thereafter
filed the instant motion to remand. As noted, on July 27, 2011, the parties entered into a


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stipulation by which the parties agreed that the Receivership Administration portion of the matter
would be remanded to the Oakland County Circuit Court and the Court entered an order to that
effect.


                                        II.    DISCUSSION
                             A.      Jurisdiction under 28 U.S.C. § 1334
          Flagstar argues that the Court does not have jurisdiction over this case under 28 U.S.C. §
1334. The parties do not, and cannot, seriously contend that this Court does not have jurisdiction
under § 1334, especially in light of the very broad parameters of “related to” jurisdiction set forth
in In re Dow Corning Corp., 86 F.3d 482, 489 (6th Cir. 1996).
          To determine whether the bankruptcy court has jurisdiction under § 1334, “it is necessary
only to determine whether a matter is at least ‘related to’ the bankruptcy. Michigan Employment
Security Commission v. Wolverine Radio Company, Inc. (In re Wolverine Radio Company), 930
F.2d 1132, 1140 (6th Cir. 1991). The Sixth Circuit Court of Appeals clearly described “related
to” jurisdiction in its opinion in In re Dow Corning Corp., 86 F.3d 482 (6th Cir. 1996).
          The definition of a “related” proceeding under Section 1334(b) was first
          articulated by the Third Circuit in the Pacor [, Inc. v. Higgins, 743 F.2d 984 (3d
          Cir. 1984)]. As stated in that case, the “usual articulation of the test for
          determining whether a civil proceeding is related to bankruptcy is whether the
          outcome of that proceeding could conceivably have any effect on the estate being
          administered in bankruptcy.” Pacor, 743 F.2d at 994. An action is “related to
          bankruptcy if the outcome could alter the debtor’s rights, liabilities, options, or
          freedom of action (either positively or negatively) and which in any way impacts
          upon the handling and administration of the bankrupt estate.” Id.

Dow Corning Corp., 86 F.3d at 489 (emphasis added). That Court further explained:

          A key word in [the] test is “conceivable.” Certainty or even likelihood, is not a
          requirement. Bankruptcy jurisdiction will exist so long as it is possible that a
          proceeding may impact on “the debtor’s rights, liabilities, options, or freedom of
          action” or the “handling and administration of the bankrupt estate.”

Id. at 491 (quoting In re Marcus Hook Dev. Park, Inc., 943 F.2d 261, 264 (3d Cir. 1991)). The
Sixth Circuit Court of Appeals has accepted that articulation, “albeit with the caveat that
‘situations may arise where an extremely tenuous connection to the estate would not satisfy the
jurisdictional requirement.’” Wolverine Radio Company, 930 F.2d at 1142 (quoting In re Salem
Mortgage Co., 783 F.2d 626, 634 (6th Cir. 1986)).

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       The Court concludes that it does have “related to” jurisdiction over this matter.
                       B.     Equitable Remand under 28 U.S.C. § 1452(b)
       The more serious issue here is whether, or the extent to which, the Court should exercise
its discretion under 28 U.S.C. § 1452(b) to remand the Guaranty Claim “on any equitable
ground.” In this case, the Trust asserts that it has a defense to the sought after judgment against
it on its guaranty, in that, at the time of giving the guaranty, Peter J. Cubba (Debtor’s father), the
then trustee of the Trust, was sufficiently incompetent and/or possibly under the undue influence
of the Debtor. It argues that those allegations, if true, would support a position that the guaranty
was not validly obtained and/or is unenforceable. Such defenses, as of the time of the filing of
the bankruptcy, had not been formally asserted in the state court action. One of the grounds for
Flagstar’s pending summary judgment motion in the state court is apparently that any such
defenses have been waived, or, that the facts were such as would not preclude a summary
judgment on the Trust’s guaranty. The Trust also argues, insofar as the Debtor is directly
concerned, that (1) the Trust may have a claim for contribution from Debtor if it is subjected to a
judgment on the guaranty, and (2) the Trust has other claims against the Debtor. It then argues
that this matter involves facts or proofs with regard to Debtor’s role in the transactions, similar to
what will come into play in the Trust’s indicated defenses to Flagstar’s guaranty claim against
the Trust, and thus considerations of duplication and minimizing or avoiding multiple
proceedings favor this matter being adjudicated in this Court, where the Trust can file claims
and/or adversary proceedings in pursuit of its claims against the Debtor, and the indicated
defenses and issues can be heard and decided in one court – i.e., this one.
        28 U.S.C. 1452(b) provides that “[t]he court to which such claim or cause of action is
removed may remand such claim or cause of action on any equitable ground.” Under this
provision, courts have discretion to remand state law causes of action whenever doing so
presents appropriate equitable grounds. See Cook v. Cook, 215 B.R. 975, 980 (Bankr. E.D. Mich.
1997). The factors to be taken into account in deciding whether remand is equitable include:

       1) duplicative and uneconomical use of judicial resources in two forums; 2)
       prejudice to the involuntarily removed parties; 3) forum non conveniens; 4) the
       state court’s ability to handle a suit involving questions of state law; 5) comity
       considerations; 6) lessened possibility of an inconsistent result; and 7) the
       expertise of the court in which the matter was originally pending.



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Mann v. Waste Mgmt. of Ohio, Inc., 253 B.R. 211, 214-15 (N.D. Ohio 2000).

       In this case, most of the above-listed factors support remand of this case to the state court.
Specifically, the following factors support this Court’s conclusion:
       (1) if this case were not remanded to the state court, there would be duplicative
       and uneconomical use of judicial resources in two forums, specifically since
       discovery has already been substantial, if not completed in the state court and
       there is already a pending Motion for Summary Disposition in the state court and
       since the Receivership Administration portion of this matter has already been
       remanded to the state court by stipulation;

       (2) although there is nothing that would constitute material prejudice to the
       involuntarily removed parties, it would certainly be more economical for the
       parties to litigate this issue along with the Receivership Administration issue in
       the state court;

       (3) although this Court is able to determine the state law issue(s), the state court
       is in a better position to determine the Guaranty Claim, especially given the status
       of the litigation to date in the state court case; and

       (4) remanding this matter to the state court would eliminate the possibility of an
       inconsistent result with regard to this matter.

The other indicated factors are either neutral or not applicable.


                                      III.    CONCLUSION
       Accordingly, the Court grants Plaintiff’s Motion to Remand the Guaranty Claim to the
state court. In doing so, it should be clear that the remand is only to the extent that the state court
decide the validity and amount, if any, of the Guaranty Claim, following which, it’s treatment
will be a matter for the Bankruptcy Court to determine. An order will be concurrently entered.



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                                   Signed on August 19, 2011
                                                      ____ __/s/ Walter Shapero_    ___
                                                         Walter Shapero
                                                         United States Bankruptcy Judge




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